Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 1 of 7 PageID #: 3827




                                 UNITED STATES COURT OF APPEALS
                                      FOR THE SIXTH CIRCUIT

                                                                                              Sep 05, 2023
Col. David J. Wright, Appellant




 v.                                                         Case No: KYWD 3:20-CV-00132
The Honorable Order of Kentucky
Colonels, Inc., Appellee




                                     MOTION FOR PAUPER STATUS

          I move to waive the payment of the appellate filing fee under Fed. R. App. P. 24 because I am a

pauper. This motion is supported by the attached financial affidavit.

          The issues which I wish to raise on appeal are:

 The District Court's decision is erred based on a non-exhaustive list of
 grounds (subject to amendment) including plaintiff deference, judicial bias
 and mistaken reliance on a temporary preliminary injunction which
 erroneously replaced an agreed permanent injunction in the court's
 memorandum opinion and order.

 The issues being raised are enumerated with some detail in the attached
 Notice of Appeal submitted to the U.S. District Court for the Western
 District of Kentucky.




Signed:                                                     Date: August 30, 2023

Address: 302 General Smith Drive

          Richmond, Kentucky 40403




United States Court of Appeals                                                                        Page 1
FORM 4 - AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February
            December20142018
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 2 of 7 PageID #: 3828


FORM 4.            AFFIDAVIT ACCOMPANYING MOTION FOR
                  PERMISSION TO APPEAL IN FORMA PAUPERIS
                                 United States Court of Appeals
                                      for the Sixth Circuit
Col. David J. Wright, Appellant

                                                    ]

                                                    ]

 v.                                                 ]    Case No: KYWD 3:20-CV-00132
 The Honorable Order of Kentucky
 Colonels, Inc., Appellee                           ]

                                                    ]



Affidavit in Support of Motion                          Instructions

I swear or affirm under penalty of perjury that,        Complete all questions in this application and
because of my poverty, I cannot prepay the              then sign it. Do not leave any blanks: if the
docket fees of my appeal or post a bond for             answer to a question is "0," "none," or "not
them. I believe I am entitled to redress. I swear       applicable (N/A)," write that response. If you
or affirm under penalty of perjury under                need more space to answer a question or to
United States laws that my answers on this              explain your answer, attach a separate sheet of
form are true and correct. (28 U.S.C. §§ 1746;          paper identified with your name, your case's
18 U.S.C. §§ 1621.)                                     docket number, and the question number.


Signed:                                                 Date: August 30, 2023

My issues on appeal are:

The District Court's decision is erred based on a non-exhaustive list of
grounds (subject to amendment) including plaintiff deference, judicial bias
and mistaken reliance on a temporary preliminary injunction which erroneously
replaced an agreed permanent injunction in the court's memorandum opinion and
order.

The issues being raised are enumerated with some detail in the attached
Notice of Appeal submitted to the U.S. District Court for the Western
District of Kentucky.




United States Court of Appeals                                                                    Page 2
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February   20142018
            December
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 3 of 7 PageID #: 3829

1. For both you and your spouse estimate the average amount of money received from each of the
following sources during the past 12 months. Adjust any amount that was received weekly,
biweekly, quarterly, semiannually, or annually to show the monthly rate. Use gross amounts, that
is, amounts before any deductions for taxes or otherwise.


                                                   Average monthly
                                                    amount during                  Amount expected
 Income source                                    the past 12 months                 next month

                                              You              Spouse            You          Spouse

 Employment                              $ 5,200.00                           $ 500.00

 Self-employment                         $ 1,200.00                           $ 100.00

 Income from real property
                                              $ 0.00
   (such as rental income)
                                              $ 0.00
 Interest and dividends
 Gifts                                   $ 1,000.00

 Alimony                                      $ 0.00

 Child support                                $ 0.00

 Retirement (such as social security,
   pensions, annuities, insurance)            $ 0.00

 Disability (such as social
   security, insurance payments)              $ 0.00

 Unemployment payments                        $ 0.00
                                              $ 0.00
 Public-assistance (such as welfare)
                                         $ 3,000.00                           $ 150.00
 Other (specify): Stipends
 Total monthly income:                  $ 10,400.00             $ 0.00        $ 750.00         $ 0.00




2. List your employment history for the past two years, most recent employer first. (Gross monthly
pay is before taxes or other deductions.)
         Employer                       Address                  Dates of Employment        Gross
                                                                                          monthly pay
 Globcal                       302 General Smith               December 31,
 International                 Drive, Richmond,                2018 - Current                $ 600.00
                               Kent




United States Court of Appeals                                                                       Page 3
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February
           December20142018
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 4 of 7 PageID #: 3830

3. List your spouse's employment history for the past two years, most recent employer first. (Gross
monthly pay is before taxes or other deductions.)
                                                                                                       Gross
            Employer                     Address                     Dates of Employment             Monthly Pay




4.     How much cash do you and your spouse have? $ 100.00

Below, state any money you or your spouse have in bank accounts or in any other financial
institution.
                                                                       Amount You                   Amount
       Financial Institution        Type of Account                      Have                   Your Spouse Has




If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must attach
a statement certified by the appropriate institutional officer showing all receipts, expenditures, and
balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each
account.


5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and
ordinary household furnishings.
 Home (Value)                            Other real estate (Value)               Motor Vehicle #1 (Value)

                                                                             Make & year:
 n/a                               n/a                                                         n/a
                                                                             Model:


                                                                             Registration #:




 Motor Vehicle #2 (Value)                  Other assets (Value)                       Other assets (Value)

 Make & year:      n/a             n/a

 Model:

 Registration #:




United States Court of Appeals                                                                               Page 4
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February   20142018
            December
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 5 of 7 PageID #: 3831

6. State every person, business, or organization owing you or your spouse money, and the amount
owed.
                                                                   Amount owed    Amount owed
 Person owing you or your spouse money                               to you       to your spouse




7.   State the persons who rely on you or your spouse for support.

 Name                                              Relationship                    Age




United States Court of Appeals                                                              Page 5
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February   20142018
            December
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 6 of 7 PageID #: 3832

8. Estimate the average monthly expenses of you and your family. Show separately the amounts
paid by your spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually,
or annually to show the monthly rate.
                                                                                         Your
                                                                             You        Spouse

 Rent or home-mortgage payment
   (including lot rented for mobile home)                                  $ 200.00

        Are real estate taxes included? ✔ Yes          No
        Is property insurance included? ✔ Yes           No
 Utilities (electricity, heating fuel, water, sewer, and telephone)         $ 80.00

 Home maintenance (repairs and upkeep)
 Food                                                                      $ 300.00

 Clothing                                                                   $ 50.00

 Laundry and dry-cleaning                                                   $ 20.00

 Medical and dental expenses                                                $ 50.00

 Transportation (not including motor vehicle expenses)
 Recreation, entertainment, newspapers, magazines, etc.                     $ 20.00
 Insurance (not deduced from wages or included in mortgage payments)
   Homeowner’s or renter’s
 Life
 Health
 Motor vehicle
 Other:
 Taxes (not deducted from wages or included in mortgage payments)
   specify:
 Installment payments
 Motor Vehicle
 Credit card (name):
 Department store (name):
 Other:
 Alimony, maintenance, and support paid to others
 Regular expenses for operation of business, profession, or farm (attach
   detail)
 Other (specify):
 Total monthly expenses:                                                   $ 720.00     $ 0.00




United States Court of Appeals                                                              Page 6
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated:February   20142018
            December
Case 3:20-cv-00132-RGJ Document 133-1 Filed 08/31/23 Page 7 of 7 PageID #: 3833

9. Do you expect any major changes to your monthly income or expenses or in your assets or
liabilities during the next 12 months?
         Yes     ✔ No         If yes, describe on an attached sheet.




10. Have you spent or will you be spending any money for expenses or attorney fees in connection
with this lawsuit?
         Yes     ✔ No         If yes, how much? $


11. Provide any other information that will help explain why you cannot pay the docket fees for your
appeal.
 Because I am an American expat that lives in Colombia (currently), do not
 have a real job and can only afford to allow the company to pay me based on
 local living and working wages and the amount of work accomplished in
 self-employment tasks. Colombia's minimum wage is roughly $250 USD and the
 cost of living here is $600 to $750 per month. There are no monies to
 defend or appeal a lawsuit and the salary policy of the company is too low.



12. State the address of your legal residence.
 I was never considered a legal resident of Venezuela from 2001 until 2023
 under a xenophobic government policy, now in 2023 living in Colombia as a
 perpetual tourist who is also an undocumented Venezuelan refugee with two
 children there. So then, my only legal residence remains 302 General Smith
 Drive, Richmond, Kentucky 40475



  Your daytime phone number: ( 859 ) 379-8277
                      Your age: 56                            Your years of schooling: 18
  Your social-security number:




United States Court of Appeals                                                                 Page 7
FORM 4 AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated:
Updated: February
           December20142018
